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      A m ended C om plaint
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                                                                                                     x-:
               Plaintiff,                                  *


VS.                                                              CaseNo.:8:18-cv-03405-PJM
M G M NA TIO NA L H A RB O R ,LL C,etal,
               Defendants.


                                       A M EN DED C O M PLA IN T

ProsePlaintiff,BrittneyFelder,bringsthisAm ended ComplaintagainstDefendants,and allegesuponknowledgeas

to herselfand otherw iseupon inform ation andbelief,asfollows:



                                            IN TR O D U CTIO N

Thisisan action to recoverlossesand dam ages in connection with the willful,repetitious.intentionaland egregious

treatm entsufferedby BrittneyFelderatthehandsoftheDefendants.D efendants,attheexpense offederaland state

lawsand statutes.and the Company's own governing Corporate doctrinesand policies.failed to m anage the

Com pany in aw aythatensuredthedignity,growth,advancement.prosperity.and overallwell-being ofits

em ployees.ln doing so,the Defendantscaused lasting and tremendoustraum a.grief,and hum iliation,am ongstother

dam ages.to the Plaintiff.

   M G M NationalH arbor,particularly its RetailDivision,has Iong had a persistentproblem with

M anagem ent,Superiors,and thosein Leadership Roles,ofengagingin inappropriate,unprofessional,racist

and biasconducttowardscertain employeesofa particularsex(female),color (fair-skinned orIigllttone),
ethnicity (AfricanAmerican),orlook (talland thin).
   TheM anagem entoftheRetailDivision atM G M NationalH arborengaged inpatternsofretaliation

againstemployeeswho attempted to filecomplaintsorreportsaboutM anagement,Superiors,and thosein


                                                       1
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Leadership Roleswho engaged in m isconduct.TheM anagem entwould go so farastoconcealthecom plaints

and reportsfrom appropriatepersonnel,including notfilingthecom plaintsoreven hiding an Em ployee's

term inatedem ploym entstatusfrom otherem ployees,even Corporatepersonnelthroughdeceptivetactics.

   TheM anagem entoftheRetailDivision hasIongbeen awareofthisconduct.butfailed to actto

appropriatelytorem edy thesituation,asthe wrongfulconductcontinued,resulting in extrem ely high

turnoverand a work environm entsohostileand toxic thatactualphysicalconllictsbetween em ployees

occurred,and ksstilloccurring.

   TheM anagem entand Departm entH eadsoftheRetailDivision haveeffectivelycondoned thisegregious

behaviorbyfailing to appropriatelydisciplinetheperpetrators,and thus,fosteringan environm entwhere

bias,racist,sexist,and unprofessionalconductthatisunacceptable underanycircumstance,iswillfully

allowed to continueto persist.

   ThePlaintiff,aswellasothersim ilarem ployeesbeforeand afterher,havebeen thetargetofretaliation

becauseofcomplainingorbringingattentionabouttheprejudice,wrong,andunprofessionalconduct
including thesabotaging ofwork,reductionofduties,derogatory rem arks,denialofprofessional

opportunitiesand perks,and otheradverse work conditions,up toand including term ination without

justification.
   TheconstantinjusticeunequivocallysendsthemessagebytheDefendantsthatbias,racist,sexist,
prejudicw and unprofessionalbehaviorbyM anagementoftheRetailDepartmentwillbecondoned,and
anyone,particularly thosenotofthede-sired/favored Iook,race(W hite),color(dark skin ortone),orsex
(male)who complainsorspeaksup aboutthewrongful/shamefulconductwillbepunished,chastised,severely
disciplined,hum iliated,dem oted,orterm inated.

                                                   II.

                                  JURISDICTIO N AND VENUE
        Jurisdiction isvested inthisCourtpursuantto M d.CodeAnn..Cts.& Jud.Proc.,j 1-501.

        ThisCourthasjurisdictionoverthesubjectmatterandal1partiespursuanttoMarylandCodej6-102
        through j 6-103 oftheCourtsandJudicialProceedingsArticle('%C.
                                                                    J.P.'').
        ThisCourthasjurisdictionoverthesubjectmatterandallpartiespursuanttoTitleVlI,42U.S.C.A j
        2000E-5(t).
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    VenueinthisCourtisproperpursuantto C.J.
                                          P.j 6-201and j6-202.Allmateriale&entsoccurred in Prince
    George'sCounty,M aryland.

                                                IH .

                                            PA RTIES

    Plaintiff.BrittneyFelder(hereinafterççplaintiff')wasandstillisaresidentofPrinceGeorge'sCounty,
    M aryland,and atalIrelevanttim es.wasanem ployeeofDefendant.M GM NationalHarbor.

    Defendant,M GM NationalHarbor(hereinafter'CM GM Harbor'')isaNevadaCorporation.M GM 'S
    principalplaceofbusinessislocated at3950 LasVegasBoulevard South.LasVegas.Nevada.M GM

    Harbordid and currentlyhasavenuelocatedat101M GM NationalAvenue.NationalHarbor,M D 20745.

    whereforea11theconductallegedhereinoccurred.M GM Harborisaluxuryresort.w ithretail,dining,

    entertainment.and acasino.Uponinform ation and belief.M G M hasspecialpartnershipswith non-

    affiliated luxury companiesand brands,including theSJP by Sarah JessicaParkerboutique(hereinafter
    ':SJP Boutique'').Theexactbusinessform andrelationship of,by andbetweenM GM Harborand SJP

    Boutiquewillbethesubjectofdiscovery.Defendant,M GM NationalHarbor,was,andataIIrelevant
    tim es,theem ployerofthePlaintiff,and,attim esrelevantto thisaction,condoned,ratified,

    authorized and/orengaged in thediscriminatory and unprofessionalcustoms,practices,policies,and

    wrongfulactsdescribed in theCom plaintthrough itsAgentsand/oremployees.

    Thetruenam esandcapacitiesofDefendantssued hereinasDOES lthrough 50,inclusive,areunknown to

    Plaintiff,who thereforesuessuch Defendantsby such tictitiousnamespursuantto Code.Civ.Proc. j474.

    Plaintiffallegesfictitiouslynamed Defendantsactedorfailed toactin suchamannerthateach has
    contributed inproxim atelycausing thedam agestoPlaintiffasherein alleged.Plaintiffwillseekleaveof

    Courttoamend thisCom plainttosetforth theirtruenamesand capacitieswhenascertained.
8. Plaintiffisinform ed andbelieves,andthereonalleges,thatatalltim eshereinm entioned,eachofthe

    Defendantssued herein,including thosefictitiously nam ed asD OES.werethe agents. servants,em ployees,

   partners.jointventures.licensees.guarantees,invitees,assignees.co-conspirators.aiders.and/orabettorsof
   each other.andindoingthethingsherein alleged,acted withinthecourseand scopeofsaidagency.

   em ploymentguaranty.venture,m aster-servantrelationship.assignm ent.license.conspiracy,invitation

   and/orrelationship and withthefullknow ledgeand consentoftherem ainingD efendants.

                                                 3
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                           EXH AUSTION OF ADM INISTRATW E REM EDIES

          Plaintifftimely filed chargesofdiscrimination with theUnitedStatesEqualEmploym entOpportunity

          Commission (<iEEOC'').On oraroundJune05or06,2018(postmarkeddatestamp isverydiftk ultto
          readl-theEEOC issued PlaintiffNoticesofRightto Sue.attachedhereto asExhibitA and incorporated
          herein.Plaintiffwasinreceiptofthisletteron June09,20l8.

      10. Plaintiffhastim ely filed thisaction andhascomplied with alladministrativeprerequisitesto bringthis

          lawsuit.

      l1. Plaintiffalso sentaverydetailed Complaintletter,attached hereto asExhibitB,1andincorporatedherein-

          to whom atallrelevanttim es,wasM GM NationalHarbor'sPresidentBillBoasberg,M GM Resort

          International'sPresidentW illiam H ornbuckle,andM G M Resortlnternational'sD irectorJim M urren.

                                                                  V.

                                         PRELIM INA RY ALLEG ATIONS
     12.Plaintiffgraduated with top honorsand ççBestinClass''and 'tBestinShow''from theArtlnstituteof

          W ashingtonwheresheearned herbachelor'sdegreeoft
                                                         ineartsofgraphicdesign.Plaintiffishighly

          educatedw ith an extensivearrayofexperience.Plaintiffhasseveralyears'experienceincorporate

          operations,projectmanagement-retailmanagement,andleadershippositionsinthedesign.fashion,art,and
          marketingfields.Plaintiffhasbeen responsibleforcompanies'marketing.artistic,and creativedirection.
          m anaging and delegating responsibilitiestom aximizeproduction,meetdeadlines,increasesales.expand

          clientele,andsuccessfullycompletevariousprojectsandtasksofwhoseobjectiveshavealwaysbeenmet.
          PlaintiffstitlesincludeArtD irector,SeniorGraphicDesigner,InteriorDecorator,M arketing Consultant,

          Photographer,Buyer,Store M anager.PersonalStylist,Lead Stylist,Boutique Team Leader,and Team

          Leader.

     l3. Plaintiff.whileworkingasAssistantM anagerataretailstoreunaffiliated with M GM (hereinafter'$SM U''),
          wasapproached byW hitney W ilburn (hereinafter($W ilburn''),aliaison ofSJP Corporate.withan
          em ploym entopportunity atSJP BoutiqueatM GM Harbor,attachedheretoasExhibitC and incorporated


1ExhlbitB isexclusive ofthe attachmentsreferenced within the Complaintas''Appendix...''These documentswillbe provided infullduring
discovery asso ascertalned

                                                                  4
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    herein.W ilburn aggressivelypursued and enticed Plaintiffto leavethecomfortandstability ofhercurrent

   job.toworkatSJPBoutique,whichWilburndescribed tothePlaintiffasa''bustling,luxury.celebrity-
    owned Com panyandbrand.''

14. Plaintiffinterviewed wit
                           .
                           h DianeLemberg (hereinafter4dlwemberg''),oneofM GM Harbor'sAssistantRetail
    M anagers,who duringtheinterxiew processtold Plaintiffthatshewould detinitelywantto comegtoM GM
    Harborlasççpeople workhereforalong time,it'sagreatopportunity.and (Plaintifflwouldeven havethe
    option to transferto differentproperties.''

15. Attheurgent.desperatedem and ofW ilburn,LisaJones,DirectorofRetailOperationsatM GM Harbor

    (hereinafter4ilones''),immediatelyfollowed-upwithPlaintifftoofferherajobatSJPBoutique.
16.Plaintiffwassim ultaneously offeredaprom otion atSM U to work intheCorporateofficesofSM U asa

   Buyer.

17.PlaintiffexplicitlytoldbothJonesandWilburnthatshewouldnotleaveherjobatSMU,andacceptthejob
    atSJP Boutijueunless'she werein am anagerialposition.whereshewouldhavecontroland freedom to

   directlycontribute tothe operations,growth and prosperityofboth SJP Boutiqueand M GM Harbor,where

   shewouldhavetjobjsecurity,beabletoshineandgrow undertheCompany.'
18. Jones.atthedirection ofW ilburn,desperatelyand aggressively lured PlaintifftoSJP Boutiqueby first

   offeringthePlaintiffacontract/jobasaSalesLeadwithacceleratedpay.However,thispositiondidnot
   ful5lla11oftheterm sm entioned above,soJonesrescinde,
                                                       d thatoffer,and offeredPlaintiffthepositionas

   AssistantM anagerofRetailofM GM /StoreM anagerofSJP Boutique (referred tobyJonesasç4AM '')that
   would ful5lltherequirements,asm entionedabove,andwouldbeacom petitiveofferthatincluded a

   ''lasting and new''position atSJP Boutique astheStoreM anager,attached hereto asExhibitD and
   incorporated herein.

19. PlaintiffturneddowntheofferatSM U and accepted tlleposition atM GM HarborastheAssistantM anager

   thereinafterd:AM'')ofRetailforM GM Harborand StoreM anagerofSJP Boutique.

20.AsAM,Plaintiffhadmanyjobduties/responsibilities,attachedheretoasExhibitE andincorporated
   herein,includinghopesofrestoring SJP,and subsequently,M GM Harbor'sRetailDivision,backto its

   originalhigh expectationsand glory in sales.public relations,em ployee m orale.custom erservice,store




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    operationsandefticaey,employeeproductivity,and visualsplendor,whileguiding SJP Boutiqueand the

    RetailD epartm entthroughitsgrowing painsand self-induced challenges.

21.n ePlaintiffentered.began.and carried outherdutiesasAM withoutthe assistance.training,orphysical

    presenceofherimmediate andprimary supervisor.Jones.asitisinformed and believed.Joneswason
    leaveofabsence.Therefore.Plaintiffwasdirectlyandim mediately underthedirection.supervision, and

    approvalofPatrickFisher(hereinafterççFisher'').Fisherallowed,entrusted.andencouraged Plaintifftodo
    any and a1lthingsregarding thepersonnel.operations.com munications.policies.form alities,visuals,and

    soon ofthe SJP BoutiquethatthePlaintiff,athersolediscretion,deem ed necessary fortheorderly and
    forward progressionofthebusiness.

22.FisherwastheRetailDivisionHead and isthefinalauthority in aIIdisciplinary matters,responsible

    forthehiring,screening.training,retention,supervision,disciplineand counselingoftheem ployees

    underhiscommand.Fisher knew orshould haveknown ofthediscrim inatorycustom s,practices,

    policies,and wrongfulactsoftheDefendantdescribed herein,and hecondoned,ratified,authorized

    and/orengaged in sueh conduct.

23.Plaintiff'sleadership,comm unication skills,collaborativeefforts.team-firstmentality, unprecedented

    attention tobusinessandemployeewelfare,and exemplary.positiveattitude.wasadriving and pivotal

    forcein SJP Boutique'sand subsequentlyM G M H arbor'sretaildepartm entsudden and drastic

    improvementin employeem orale,peer-to-peerrelations,employeeproductivity.creating,settingand

    enforcing both oldandnew operationalandcomm unicativerules.standardsandguidelineswithin SJP

    Boutiqueandby and between,M GM ,M GM Corporate officesinNevada(hereinafterCéM GM Corporate''),
    and SJPCorporateoffice(hereinafterC'SJP Corporate''),andtheretaildivision inand ofitself.Asaresult.
    sales,employee productivity,and customersatisfaction were up across the retaildivision.

24. Plaintiffshard work.strong presence,encouraging words,andpricelesscontributionsw erenoted,

    appreciated,and publiclyrecognized bycustomers.em ployees.m anagem entandexecutikesofM GM

    Harbor.M GM Corporate.and SJP Corporate.Plaintiffhadacquired areputationasareliable.sm art,
    trustw orthy,formidable.respectable leader atM GM ,who gotproven results.




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25. Plaintiffreceived an award,a Golden Lion Statue,presented to hertheRetailDivision'smeeting,for

    Felder'steam work,leadership skills,and positive,encouraging and upliftingwordsand

    tem peram ent.

26.Plaintiffw asinform ed byFisherthatshewould behosting andpreparing forherfirstevent,held on

    W ednesday.September20.2017.Thiseventwasthefirstofitskind fortheSJP Boutiquein thatitwould

    beatwo-in-onepublicandprivateeventthatwould beheld intheSJP Boutiqueand featurean appearance

    bySarahJessicaParkerforboth,and sponsored byCapitolFileM agazinefortheprivateevent.

27. FishergavePlaintifffullcontrolovertheeventand allnecessarydecisionsandoperationsregardingthe

    preparations,plans,andexecution oftheevent.Fisher,therefore,form allyconnected thesponsorswith

    Plaintiffandhim self,only.'
                              Fhisensured open linesofcom munication and thatanydetails,plans,and

    arrangementsfortheeventwouldbedisclosed,discussed,andexecutedinconjunctionwithPlaintiff.
28.Jones,who wasstillnotpresent,inform ed and believed,on leaveofabsence.Therefore,Joneswasnot

    involved orincluded inanycapacitywith thearrangem entsoftheevent.

29.U nderthesupervision,approval,andencouragem entofFisher,Plaintiffm adeal1necessaryarrangem ents

    forthesuccessfulexecution oftheevent.

30. Septemberl1,2017.ninedayspriorto thedateoftheevent,Jonesforthefirsttimereturnstowork.

    Plaintiffdid notknow ofJones'arrivaluntilshearrivedto work and wasrequestedbyJonestohavea

    m eetinginJones'office.Jones,atthism eeting,deliveredextrem elypositivereportsofPlaintiffsworkand

    businesscontributions.

31. Afterthebriefmeeting.Jonesescorted Plaintiffto theSJP BoutiquewerePlaintiffwasmetby W ilburn.

    Exclusive ofPlaintiffsoff
                            scialfirstday ofwork atSJP Boutique,W ilburnhad notvisited theSJP

    Boutique.Priorto Septem berl1,2017,W ilburnonlygavepositivefeedback and com mendation for
    Plaintiffandhercontributions.

32.O nSeptem berll,2017,W ilburnbegan,to thedism ay ofthePlaintiff,during open businesshours.to
    im mediately hum iliate Plaintiffin frontofthe otherSJP Boutique employees and Jonesin the SJP

    Boutique.W ilburn m ocked and destroyed thedisplays.rem oved a1ltheproductsofftheshelves.andtold

    Plaintiffwhatshewantsdonetothestoreincludingform attersregardingtheinventory.dam ages.and so

    forth.Jonesdoesnotstop.interfere,orreprim andtheunprofessional.extrem ely inappropriateconductof


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    Wilburn.lnstead,Jones,inconcertwithWilburn,continued,encouraged,andjoinedintheappalling
    behaviorofWilburn.JonesandWilburnaskedtheotheremployeestojoininontheiractions,butthe
    employeeselected notto,and instead,by theirown discretion,wentonbreak.

33.OnSeptember11,2017,assoon asPlaintiffreported towork,Jonesand W ilburn requested Plaintiff's

    attendanceatam em ing.Plaintiffhad nopriorknowledge ornoticeofthism eeting.W hen Plaintiffarrived

    inthemeeting.twootheremployees,oneastockhost,and anotheraSalesLead (who wasnotactivelyor
    directlyinvolved with the operationsorunderthemanagementofthePlaintiffofSJP Boutique)were
    present.Thesetwoemployees(hereinaftertçlohnand JaneDoe'')did notleave.In thismeeting,assoonas
    Plaintiffsitsdown,anotherverbalassaultbeganonthePlaintiff,including thatofcalling thePlaintiffa

    ç'dictator.''Plaintiffisnoteven allowe-d totalk oransweranyquestionswhen addressed.Onceagain,Jones

   did nothing tostoporobstructthisconstant,deeplyunsettling,verbalattack onthePlaintiff. As aresult,

    and in an attem ptto stop thisassault,theplaintiffisforced torespectfully speakup sothatshe isnolonger

   humiliated and verballyassaulted by W ilburn,especially whilein frontofmoreem ployees.

34.Oncethemeeting(mentioned above,paragraph 31)wasover,thePlaintiffreturned to theSJP Boutiqueto
   prepareforherscheduled me-eting with Fisher.Plaintiffneveratany tim e,disclosed to anyone,especially

   to thosenotpresentinthemeeting,aboutthe eventsthathad transpired.

35. Laterthatday(September11),Plaintiffwasapproached by anotherAssistantRetailM anager.Lenard
   Knight,who wasnotpresentatthem eeting mentioned above,whodisclosed toPlaintiffthatJonestold him

   thatPlaintiffand W ilburn ç:W e'regoing atitl''Soon after,anotheremployee.aSalesLead,notdirectly

   underthemanagem entofPlaintiff,and wasalso notpresentin them eetingm entioned above,disclosed that

   shehad heardwhathappened,and asked if1wasokay.M oreemployeesthroughouttheday, likewise

   approache,
            d thePlaintiffand asked ifshewerealright.n ePlaintiffwasdeeply troubled, hum iliated,and

   concerned.

36.OnSeptember14.2017,Plaintiffisnotified byanSJP Boutiqueemployee thattheboutiquehad been

   completelychangedatthe orderofJonesand thatthiswascarried outbyJohn andJaneDoe.Plaintiffis
   becom ingm oreandm oredistressed,asshenotonlyhad todealwith verbalassaults,butnow shew as

   beingprohibitedfrom doingherjobandfulfillingherresponsibilities.Asaresult,toseekaquickresolution
   and intervention,Plaintiffwentto Fishertoplead forhishelp,to inform him ofw hatw ashappening, and to


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    seekareason why these thingswere occurring.AttherequestofthePlaintiff,Fisherhad adiscussion with

    Jones.

37. Laterthatday (September14),Jonescalledanimpromptumeeting in herofticewith al1SJP Boutique
    personnel,which wouldbeaboutthe upcom ingSJP Boutiqueevent.lnthism eetingaswell,for

    unexplained reasons,wereJohnandJaneDoe.W hen Plaintiffentered Jones'officealongsidetheother

    em ployees.Jonesgreetedand spoketoeveryonebutPlaintiff.Joneshanded outpenstotakenotesto

    everyonebutPlaintiff.Jonesignored Plaintiff,andanytim ethePlaintiffspoke orw asasked aquestion,

    JoneswouldcantankerouslyrebutanythingthePlaintiffsaid.Jonescontinued thisbehaviorthroughoutthe

    meeting.Theem ployeespresentwere so uncom fortableand asham ed ofwhatwasoccurring thattheydid

    notparticipatein them eeting.

38.Afterthemeeting(mentionedabove,paragraph35)wasadjourned.whiletherestoftheSJP Boutique
    em ployeesleftJones'office,John andJaneD oestayed behind.PlaintiffaskedJohnand JaneD oe ifthey

    could excusethemselvesso thatshecould speakw ithJones.ltwasduring thisconversation thatJones

    verballyexpressed herangerwithPlaintiffforgoingtoFisher.InJones'ownwords.ç'But(Plaintiftlwent
    to Eherqbossl''
39.OnSeptember15,2017,pertherequestmadeby Plaintiffduring herconversation withFisher(paragraph
    34).ameetingbetweenFisher,Jones,and Plaintiffoccurred.Atthism eeting,thePlaintiffopenly expressed
    hersuggestionsand concernsso thatany and allissueswould com e to an abrupthalt. Jonesresponded to

    Plaintiff'swordsby saying thatshewantsto makesuresheisdoingwhatevershecan tosupportme,and

    thatshedoesn'twantmeto feelthatlhavetohavethatresponse.ShethentoldFisherthatthetiplaintiffl
    scaredherl''Jonesm ade thisstatem enttoFisheralthough Plaintiffnever,notatanypoint,case,time,orin

    any capacity acted orresponded inahostilemannertowardsJones,oranyoneelse,despitehaving toendure
    and be on the receiving end ofthe severely hostile treatm ent.Jonesfurtberstated tbatshe did notwantto

    makePlaintifffeelsohurt.Afterthemeetingadjourned,Plaintiffhopedthateverythingwouldbebetter.
40.Despiteallthepriormeetings.thequestionableandobjectionableactionsofJonesdidnotstop.Jones.
    W ilburn,andJohn andJaneDoe.and anotheremployeeknownforproblematicbehavior(hereinafter''Doe
    3''),continued todisrupttheagreements.arrangements,operations,visuals.team camaraderie,and allprior
    approvedand finalized arrangementsand proceduresfortheSJP Boutiqueevent,SJP em ployees,andthe


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          boutiqueitself,including taking awayorassigningtasksthatshouldhavebeencompletedbythemanager,
          and giving theseassignmentstoJaneand JohnDoe,andDoe 3.2

     41. OnSeptember18,2017,inanotherm eeting,Jonescalled Plaintifftoreporttoheroftice.A fterthe meeting

          adjourned,asthePlaintiffwasleaving,JohnDoeenteredJones'officeandaskedPlaintiffwhatshewas
          wearingto the SJP Boutiqueevent.BeforethePlaintiffcouldanswer,Jonesintercepts.and tellsthe

          employee,ççYou know the Queen cannotbe in the samecoloraseveryoneelse.n isisthe Queen.''?
          Plaintiffwasdeeplygrieved bythisstatement.

     42. OnSeptember20,2017,theday oftheSJP Boutiqueevent,thePlaintiffliterally spenttheentirenightand
         early m orningtocom plete,address,perfect,and ensurethateverything wasgood-to-go with every aspect

          ofthetinaltouchesoftheevent,down tothem ostm inuteofdetails.Plaintiffthenprepared toleavetogo

         hometogetherselfreadyfortheanticipated SJP Boutiqueevent.AsthePlaintiffw asin thestockroom to

         gatherherthingsto leave,Jones,withoutgreetingoraddressing thePlaintiff,comesim mediately into the

         storeandbeginsdismantling everythingthePlaintiffhaddone.Jonestookdown andrem oved allthe

         displays,rearrangedallthefurniture,and moved andremoved theproductsaround/from the boutique'ssale

         floor.W hiledoing this,Jonescontinued toignorePlaintiff,noteven lookingather.ThePlaintiffin full

         distressandutterdisbeliefattheoutrageousactsofJones,pleaded and beggedJonestoexplain whatw as

         wrongandwhy shewasdoing whatshewasdoing.Jonescontinued toignorePlaintiff,with theexception

         tothenlook atPlaintiffandrollhereyes.A sPlaintiffcontinuestohum blybeg ofJonesforan answer,

         Jones,callsM GM Harborsecurityto reportPlaintiffasan ççirate''employee.ThePlaintiffisinuttershock

         and panictothepointofbuckling atherknees.ThePlaintiffturnsand findsarme,
                                                                                d policeoftk erswith

         policedogs,security guards,andM GM Harborsecurityatthedoor.ThePlaintiff,scared forherlife.

         im m ediately andhurriedly goesto thestockroom to callFisherand ask forhishelp.andreportwhatwas

         happening.FishertellsthePlaintiffthathehasameeting,andifwecouldjustgetthroughthisday.n e
         Plaintiffonceagain stressed the seriousnessofwhatwastranspiringtoFisher.Fishersaid thathe would be
         there afterhism eeting,and in the m eantime to do whatJonesasks.The Plaintiff,stillan active em ployee in

         good standing,wasthenescortedoutofthebuildingby severalm aleand femalesecurity guardsinfull


2 Referto ExhibitA, attachedheretoandincorporatedherein,formore,or,speci
                                                                       ficdetail
                                                                               softheeventsalleged.
3Theword''Queen''intheAfricanAmericancultureisaderogatoryterm whenused betweenAfricanAmericansofdiserentcolors. Itharkens
backtosl
       averywhenIighterskinorfairtoned Blackswerevi
                                                  ewedbyW hitesasbeingbetter,pretti
                                                                                  er,orplacedabovedarkerskinBlacks.

                                                             10
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    view offellow em ployees,staffers,M G M employees.andvisitors.Plaintiffwaswrongfully.and without

    cause.publiclyshamed.hum iliated,embarrassed,putinastateofextrem efearand terror,and herwelfare

    endangered.TheSJP BoutiqueeventPlaintiffhad w orked sohardandtirelesslytoplan and execute,was

    fornaught,asshewasprevented byJonesfrom attending theevent.

43. Plaintiffiscontacted by anSJP em ployeewhoinform sthe PlaintiffthatJonesrecorded the incidenton her

    personalcellphoneandshowed therecording tonum erousem ployees.Jonesm aliciously.deliberately.and

    in consciousdisregard forPlaintiffsrights,publicly shared withcountlessothersthehum iliating eventsof

    Septem ber21,2017.Thisdeliberate action,along with theeventsfrom September21,2017,and priore

    jeopardizedthePlaintiffswell-established,well-earnedprofessionalandpersonalreputationwithlocal,
    nationalandinternationalprofessionalcom m unities,customers.clients,guests.employeessand

    m anagementand executivesofM GM Harbor,M GM Corporate.and SJP Corporate.The m anner in which

    Plaintiffwasm etand escorted outofthebuilding wasIibelperseand slanderousperseinseveralrespects
    by im plying thatthe Plaintiffwas acrim inaland a dangerto fellow M GM staffscustomers,and visitors.

44. Defendants'actionshavepervasivelyand irrevocablydestroyed the Plaintiffsprofessionalandpersonal

    reputation,caused thePlaintiffsevereem otionaldistress.and wreakedunbelievablehavocon thePlaintiffs

    tinancialstatus and income.Defendantswithoutcause ordue processdeprived Plaintiffofherrightsasan

    M G M Harboremployee,asahum an being,and citizenoftheUnited States.
45. On September21.2017,Jonescalled the Plaintiffto m eether in heroffice.Jonesthen proceeded to tellthe

    Plaintiffthatsheisççdoingwhatiscalled aprobationary separation.which meansgshe)isrelieving (melof
    gmyqpositionduringtheprobationarytimeperiod,whichisthe 90-day timeframe...rrhatrequiresmy
    signature.''Jonesalso tookthePlaintiff'sbadge.

46. Plaintiffw asneveratanypointduringthehiring processorwhileshew asem ployed with M GM H arbor,
    presumed to be.oftscially notitied.orinformed,thatshe wasundera 90-day probationary period atany

    timepriorto thedayofherdism issal.A ssuch,thePlaintiffrefused to signthepaperasshedid notknow or

    understand whatshewassigningandtheconditionsorpretensesforwhich theDefendantalleged the

    Plaintiffw asdism issed.




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47.Plaintiffsentaform alCom plainttoM GM Harborand M GM Corporate.n eCom plaintwasreceived and

    responded toby M G M Corporate onbehalfofM G M H arbor,attachedhereto asExhibitF and
    incorporated herein.

48. Plaintiffcalled and received inform ation viaem ailregarding ALL thepapersandagreem entssignedby

    Plaintiffduringheronboarding,attachedhereto asExhibitG and incorporatedherein.

49. Plaintiffcalled M G M Corporateand M GM H arborto inquireofherpersonnelfiles.attached hereto as

    ExhibitH and incorporatedherein.Plaintiffwastold viatelephonecom munication thattherewas<'nothing

    negative to reportinherpersonnelfile,andthattheydonotprovidecopiesofthet5lebecauseanyactions
    arerecorded inW orkforce.''

                                                VI.

                             PRELIM INARY ALLEGATIO NS

           REG A R DIN G TO RTIO U S M ISPREPRE SEN TA TIO N /FR AU D

50.PlaintiffexplicitlytoldJonesthatshewouldnotIeavehercurrentjob,whereshewasbeingoffereda
    promotion,unlessshewereofferedamanagerialpositionwhereshewould havejobsecurityand be
    ableto shineand grow underthe Com pany.

51. Defendantoffered thePlaintiffthe position ofAssistantM anagerofRetailand theStoreM anagerof

    SJP Boutique.
52. Jonestold Felderthattheposition would bea com petitiveofferand would beaddlasting''positionat
    SJP Boutique.

53.Plaintiffaccepted thejobanddeclined herpromotionfrom herformeremployeronthesolebasisof
    potentialgrowth and Iongevity within theM GM Corporation.

54. Plaintiff,atnotim e,wasundertheim pression,orgiven asinglenoticethatshe would be undera90-

    dayprobationary period.

55. Jones,however,waswell-awareofthe90-dayprobationary period;butatnotim edisclosed thisto

    Felder,despiteknowingthePlaintiff'srequirementtoacceptingthejob washavingjobsecurity.
56. Felderhad no know ledgethatherem ploym entwith M G M NationalH arborwasim m ediately

    conditionalandwould implementacriticalstipulationthatcouldjeopardizeheremploymentstatus
    with M GM N ationalH arborby m eansofthe90-day probationary period.

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57.By hidingand withholding thisinform ation from thePlaintiff,thePlaintiffunknowingly accepted a

    jobwbereherstatusandpositionwasimmediatelyinjeopardy- whetherwarrantedor
    unwarranted.

58.Jones,W ilburm alld Lemberggavethe pretensetoFelderthatby Ieaving herformerplaeeof

    employment,shewasacceptingnotonlyabetterjobwithattcompetitiveoffer,''but,shewouldImve
    opportunitiesnotafforded orpossiblew ith herotherem ployer,and m ostim portantly,would have

    jobsecurity.And seeingthedesperationofW ilburntohireherandJonespresentingthataddnew
    position''wasbeingmadejustforFelderwithacompetitivesalary,andJonesagreeingtoFelder's
    requirements,thenthePlaintiffhadeveryrighttorelyuponJones'informationandjob
    offer/prospectsasbeingcompletelytruthful.Thus,Felderacceptedthejob.
59. ThePlaintiff- although Im ving an outstanding work reputation with notonenegativecom m entor

    disciplinary againstFelderduring herentiretenure.and even receiving glowingaccoladesforher

    w ork perform ance- wasterm inated,notbased on any work-related deficiencies,butrather,

    accordingto Jones,duetoa ttprobationaryseparation based offofa90-day probationary period-''

60. Plaintiffasa re-sulq suffered adversechangesin work conditionsincluding term ination (Iossof
    employment),Ieftherformeremployerand declined a prom otion from herformerem ployer,on the
    solebasisofacceptingajobwithM GM NationalHarborforapositionthePlaintiffdidnotseek,but
    rather,wasaggressivelysoughtout,pursued,and persuaded by theW ilburn and Jonesto accepta

    tdlasting''jobwithMGM NationalHarborastheAssistantRetailM anagerandStoreMangerofSJP.
61. Asadirectand proximateresultofJones'deception,thePlaintiffsuffered and continuesto suffer
    Iossofem ploym ent,Iossofincom e,Iossofem ploym entbenefits,and hassuffered and continuesto

    sufferdistress,hum iliation,greatexpensw em barrassm ent,and dam agetoherreputation.

62.ThePlaintifflmsapplied fornumerousjobsofsimilarp-itionsimmediatelyafterbeingterminated
    from M GM N ationalH arbor.H owever,whileFelderhastheexperience,whatappearsto bea Iack

    dedication to aCompanydue toa Iack oftim erequired in sim ilarlydesired positionswith a

   prestigiousCompany such asM GM ,causesem ployerstoquestion the Plaintiff'sabilitytoIastwith a
    Com pany,despiteFelder'sproven and noted track record regarding herwork pedorm anceand

   contributions.


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                                               VH.

   PR ELIM IN A RY A LLEG A TIO N S REG A R DIN G BR EA CH O F C O N TM C T

63. ThePlaintiffwasoffered theposition ofRetailAssistantM anager byDefendant.

64.Along with thisposition,areduties/responsibilities,education and/orexperience,certificate-
                                                                                            s,licenses,

    registrations,knowledge/skillVabilities,and work schedule/hoursoutlinein theJob Descriptionof

    theJob Posting thatanyqualified applicantshould atm inimum beabletofulfill.SeeExhibitE.

65.Whileitistruethatajobdescription postedbyanemployerdoe.
                                                         snotobligatetheemployertolimit
    employeeresponsibilitiestothosestatedinthejobdescription;ajobdescriptiondoesobligatethe
    employerto hold thepotentialem ployee/candidateto beabletosuccessfully handleatIeastthe

    minimum oftheduties/requirementsneeded tominimallysatisfythere-
                                                                  sponsibilitiesofthejob
    positionathandand asestablishedandnoted within thejobpostinganditssubsequentde-scription,
    toensurethatafair,safe,and ethicalprocedure byM GM NationalHarborto em ploythemost

    qualifiedcandidatew/obiasorprejudice;andallowsthepotentialemployee/candidatetoknow what
    ism inim ally expected ofthem to fulfilla positivework perform ance.

66. ThussaJob Posting isnota binding contractin which to Iimitrequirem ents,duties,or

    responsibilitiestothosestatedinhejobposting;but,rather,aJobPosting,andtheinformation
    within itisa binding contractfortostateand establish them inim um requirem ents,duties,and/or

    responsibilitiesofa given Job Position.Assuch,any candidateapplying forthesaid Positioninthe

    said Job Posting would and should expect- when theopportunity presentsitself- to beresponsible

    tofulfilltheminimum saidrequirements duties,orresponsibilitiesasoutlined inthejobposting.
67.ThePlaintiffneveron herown accord orattheprom ptingoftheDefendantwaseverasked to

    perform dutiesoutsideoftheIisting.Therefore,thePlaintiffneverbroughtaComplaintorobjection
   forward to the Defendantaboutnotbeing abletoperform dutiesoutsideofthePosted Job
    Description.

68. ThePlaintiff,instead,com plained to Fisherthatthem inim um responsibilitiesshe wasprivyto,and
   assigned and approved by bothFisherand M GM CorporateM anagem entto fulfill- and

   consequentlyw assuccessfullycom pleting- such asthe responsibility to tçm anage,com m unicate,and

   executeretailevents''asclearlyoutlined and defined in tNePosition Resptmsibilitiesm utiesoftlxeJob

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    Posting,was,fornoduecauseeitherinhibited,taken away.orsabotaged from thePlaintiffbyJones
    and given toJaneandJohn Doewho arenotmanagerson any Ievel,and who arenotqualified to
    competentlyfulfillthedutiesofthepositiongranted and assigned to theAssistantRetailM anager.
69. Seeing tlm ttheRetailE ventswerethesingle,m ostim portantand dem anding task assigned toan

    A ssistantRetailM anagerthatwould trulyspotlightthequality oftheem ployee'swork perform ancw

    creativity,efficacy,Ieadership skills,problem-solving skills,and overallknowledge,expertiseand

    production astheAssistantRetailM anagertoM GM NationalHarborExecutives,SR Executives,
    and M GM CorporatePersonnel,itgoeswithoutsaying thatthksistheprimary duty and

    responsibility thatisafforded and de-
                                        signated totheAssistantRetailM anager;and thatwhen the

    opportunitycameforthePlaintifftobeabletofulfillthisaspeetofthejob'sduties,thenaccordingto
    theJob Posting,thePlaintiffrightfullyshould expectand begranted there-sponsibilityshe is
    minimally required to perform and thatwhich ksm inimallywritten/stated.

70. Therefore,sincethePlaintiffwasperforming orattempting to perform herrightfuldutyasstrictly

    said and outlined within theJob Posting,then thatisabindingagreementbetween theemployerand
    em ployee.

71.Further,theJobPostingnotesHlhisjobdescription innowaystatesorimpliesfO fthesearetheonly
   tfaffe,
         çtobeperformedbytheemployeeinfàf,
                                         çposition.''Theaforementionedstatementappliesstrictly
    todutiesoutsideofthosenotIisted within theJob Description oftheJob Posting.ltisin nom anner
    applicableorrelevanttothewritten statementswhich form a Iegalbindingcontractregarding the

   minimum tasksforskills,duties,requirements,experience,work schedule,and applicable

   certificationsthatarespecilicallyand directlystxted in theJob Description oftheJob Posting to be
   applied,assigned,ortasked to thechosen candidatewho fulfillsand assumesthespecified Position as

   stated within theJob Posting.
72. Therefore.acontractisindeed form ed forthem inim um requirem ents,duties,and tasksasoutlined

   in theJob Posting,and thePlaintiffrightfully should havebeen allowed to fulfillhercontractual
   obligation ofdutiesthatwerewithin herscopeofwork and requirem entsasexplicitlystated in the

   Job Posting.
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73.Instead,Jones,fornojustcause,wouldnotallow Feldertoperform hertasksofdtmanaging,
    com m unicating,and executingretailevents''by eithersabotaging herworksgivinghertasksto other,

    Iessqualm ed em ployees,and even takingthePlaintifrsdutiesaway aIltogether,although the

    Plaintiffhad proven to beefficien: knowledgeable,experienced,and fully capableofthetask athand
    ofm anaging,com m unicating,and executing retailevents.

74. ThePlaintiff,thus,wasprohibited by Jonesfrom completing thesingle mostimportantduty that
    according to theJob Description,isthesoleresponsibilityoftheAssistantRetailM anager.
    Therefore.breaking the bondsofthecontract,and causinga breach ofcontract.

75. A contractdid exisq and thecontractwasbreached bytheDefendantthemomenttheDefendant

    stopped ordidnotallow thePlaintifftoperform thewritten,specificallystatedtask/job,withoutjust
    Callse.

76.Further,thejobpostingstates.nTlleincumbentisexpected/4?perform otherdutiesnecessaryfortlte
   effectiveoperationofthedepartment-''ThisstatementfurthergivesproofofthelegalityofthisJob
    Posting and thatitdoesindeed form acontractthatstate.
                                                        sthem inim um requirem entsforthe

    potentialcandidate,and theresponsibilitiestied totheJob Description and Job Position.
                                             VIII.

   PRELIM INARY ALLEGATIONS REG ARDING DEFAM ATIO N/SLANDER

77.ThePlaintiffduring Ilerentiretenure waspraised forhercontributionstotheCom panyand the

    RetailDivisionbyM GM CorporatePersonnel,ExecutivesofM GM NationalHarbor(including
   Felder'sSuperiorPatrick Fisher),and fellow M GM NationalHarborM anagersand employeesfrom
   within the RetailDivision and outsidetheRetailDivision.

78. ThePlaintiffwasknown asanextrem elykind,caring,mild-mannered,polite,professional,hard-
    workinp resourceful,knowledgeable,experienced,and positiveperson w hosem anagerialstyleIed to

   drasticim provem entsin em ployeem oraleand production.

79. ThePlaintiffnever received notone noted ordocum ented negativereport,com m ent,orconcern

   regarding herwork ethic,work perform ance,orwork production.

80. ThePlaintiffneverhad onenegativeincidentorconfrontation with any fellow em ployee,M anager,

   orClient.ThePlaintiffhad a reputationofbuilding relationshipssnottearingthem down.

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81. ThePlaintiffwasso inquentialand highlyregarded bytheRetailDivisionasa whole,thatduring a

    RetailDivisionY epartm entmeeting,theRetailDivksion presented herwith anM GM Golden Lion

   m iniaturestatuette forherpositiveand upbuilding dem eanorand team building m ethodsthat

   greatly im pacted theem ployeesin theRetailDivision.

82.ThePlaintiff'sreputation wasim peccable.
83. ThePlaintiffdid noteverreceivenegativefeedback orcom mentstowardsherorherwork atany

   time priorto Jonesand W ilburn returning to work the week before thePlaintiffwasfinalizing
   arrangementsalreadyapproved by Fisherfortheupcoming SJP retailevent.Yetand still,Jone,
                                                                                        sand
   W ilburn nevergave thePlaintiffnegativeremarksregardingherwork orwork performancein

   privatemeetingswhenjustFelderandJone.sorjustFelderandW ilburnwerepresent.Hencw why
   Felder hasa perfectand clean work record and file.Itwasnotuntilwhen W ilburn andJone.swould
   arrangedisurprise'',unexpected,orunscheduled meetingswith thepresenceofseveralotherM GM

   NationalHarbororSJP em ployeesthatJonesand W ilburn would do a 180,and attemptto
   em barrass,m itigate,hum iliate,orharshlycriticizethePlaintiff,herdecisionsorherwork.For

   exam ple:

           August23,2017.SeeCom plainq ExhibitA.
           W ilburn nevercontacted Feldertodiscussthe problenzswith the m erchandise privatelyor

           beforehand with thePlaintiff.Instead,through a publicemailaddressed to M GM Corporate

           personnel,M GM NationalHarborM anagement,and SJP Corporatepersonnel,W ilburn
           attempted toblamethe Plaintiffand herNationalHarlx)rSJP staffand insinuatethatthe
           Plaintiffand herStaffwereK<mishandling''themerchandise.Thisem ailblam ingthePlaintiff

           and hercurrentSJP Boutique Staffwasextremelydisturbing becausethe merchandisein

           questionwasan issuethatbeganbeforethePlaintil wasevenemployedbyM GM National
           Harbor,and wasan issuethatbegan and underthedireetion oftheprforSJP M anager,not
           thePlaintiffand hercurrentStaff.ThePlaintiffwould respond to aIIaddressed in theemail,

           to correctthepotentialseriousissueW ilburn wasraising forthePlaintiffand hercurrent

           Staff.ThiswouldprovetoangerW ilburn,and W ilburn would shortlythereafterinthe




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     future,retaliateagainstthePlaintiffbyattem pting to ruin thePlaintiff'swork and

     reputation.

  b. On Septem ber11,2017.SeeComplaint,ExhibitA.

     W ilburnwouldrepeatedlyandwithoutcausepubliclyscorn,antagonize,criticize,andobject
     toanyofFelder'ssuggestions,com m ents,replies,and theIiketo tbepointtbatthePlaintiff

     wasunabletospeak,even when prom pted to doso by W ilburn.W ilburn would dism antle

     and destroyaIlthePlaintiff'sdisplaysand arrangementsofstoreproducts,althoughaIIof

     thedisplaysand arrangementswereapproved and Iauded by W ilburn herselfaswellas

     Jonesand Fisher.Felderand herStaffwould send W ilburn picturesofaIlofthedisplays
     and arrangem entsw ithin thestoreforhersuggestionsand approval.Therefore,W ilburn

     hadnojustcauseforthenegativityanddestroyingofthestoreandtheproductswithinthe
     store,asshe had personally approved and seen them beforehand.

     The Plaintiffand herStaffalwaysm adesureto getapprovaland inputfrom W ilburn,asshe

     wastheliaison between SJP Corporateand M GM NationalHarbor.ThePlaintiffalways
     worked collaboratively with W ilburn tothelegalextentthatM GM NationalHarborwould

     allow withM GM Corporateand outsideBrand partnerships.However,thePlaintiff- as

     directed byM elissaW illens,an M GM CorporateRepresentativeand Executive- was

     ordered to havethefinalsayin aIIstorerelated mnttersregardingthe SJP Boutique.
 d. On Septem ber 12,2017.See Complaint,ExhibitA.

     In asurprisemeetingwith W ilburn,Jones,and John and JaneDoe,the Plaintiffwas
     shocked atthe continued verbalassaulton herforno duecause.Atthism eeting,W ilburn,in

     frontofotherem ployees,called thePlaintiffa <çdictator''.Thischaracterization wasnot

     only false,butitheld nom eritorbasis,asthePlaintiffwasknown and publicly awarded and

     recognized byaIIin theRetailDivision-- ven m oresoam ongsttheSJP Boutique Staff- as
     being aquintessentialteam player.W ilburn wasattem pting todism antlethe Plaintilr s
     reputation byintentionally com m unicating unm istakablyfalseand dam aging statem ents

     aboutthePlaintiffin frontofotherem ployees.W ilburn,thereforw wasacting with m alicein

     an attem pttosmearthePlaintiff'sgood name/reputation.


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     Im mediatelyafterthe publicscorn and humiliation byW ilburnin a publicsetting amongst

     otheremployee-
                  s.asthePlaintil wasaloneand walkingto theelevatorto return to theSJP
     Boutique.W ilburn approachesFelderin private,and then beginsto apologizetoFelder,

     even asking ifshe wereokay.

     On Septem ber 11,2017,ina privatemeeting between Jonesand thePlaintiff,(See
     Complainl ExhibitA),Jonescandidly and vividlypraisesthePlaintiffforaIIher
     contributionsand aIIthatshehad done,describing thestoreasdtabsolutely beautiful''and

     praising thed4m om ents''Felderhad createdthroughouttheboutique,even noting thatthe

     stockroom is<tpristinev''Jones,in private,nowered thePlaintiffwith praise,saying notone

     negativeremark aboutFelder,her work,orherworkperformanee.Jonesheaped praise
     upon thePlaintiff,especiallyforaIIhercontributionsto thestoreand theem ployee

     productionand m orale.

     W hileJonesprivately praised thePlaintiffforherwork and contributions,Jonesdid not

     stopW ilburnfrom subjectingthePlaintifftopublicscornandhumiliation.Thereason
     being,thatJoneswould shortlyfollow suit.
  h. Although Jone.
                  swaspre-
                         sentin themeeting with W ilburn,Felder,and Janeand John Doe,
     and witnessed the verbalattack on the PlaintiffbyW ilburn,Jonesatnotim eintervened.
     D espite,thePlaintiffneverreciprocated thehostileorcantankerousnatureand toneto

     W ilburnoranyoneelse.In fach thePlaintiffwould notspeak untilasked to doso byJones
     orW ilburn;and whenthePlaintiffspokw shedid so with a m ild tem perand deep respect.

     ThePlaintiffwasneveraggressivein hertonw posture,ordem eanor,which iswhy itwas

     W ilburn andJoneswho weretheonesapologizing and attem ptingto consolethePlaintiff.
     But,although thiswasthecase,Joneswenttoanotheremployeewho wasnotpresentatthe
     meetingand told him thatthePlaintiffand W ilburn were<<goingatit-''ThePlaintiffatno

     timediargued''with W ilburn,ratheritwasW ilburn who wastheaggressorand who was

     berating thePlaintiff.ThePlaintiffneverIostcontrolofhertemperorengaged with

     W ilburn during W ilburn'squarrelsomebanter.Therefore,Jones'statem entwasnotonly
     inaccurate,butdownrightfalseasittried to paintFelderinan unfavorable,disputatious


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       Iighttootherem ployees,which wascom pletely contrary toFelder'skind,m ild-m annered

       disposition thateveryoneassociated thePlaintiffw ithhaving.ThePlaintiffneverengaged in

       anargum entwith anem ployeeatany tim e.How ever,beforethePlaintiffcould settleback

       into heroffice,thePlaintil wasbeing questioned byseveralotherconcerned em ployees- all

       ofwhom werenotpresentatthem eeting- ifthePlaintiffwasokay,and whatexactly

       happened.Due toJone-
                          s'm isleading and maliciousstatement,thePlaintiffhad tosuffer
   '
       furtherscoknand hum iliation asJones'defamatorystatem entbecamerum orand thushad
       spreadthroughouttheRetailDivision;IeavingthePlaintiffto try to dispelthefalse

       statem entre-focustheRetailD ivision.

       ThePlaintiffcould notyetpinpointwhy W ilburn and Jone.
                                                            sweremaking herthetargetof

       harsh,unwarranted,and crueltreatm enh especiallysinceJonesand W ilburn had been
       absentfrom theM GM NationalHarborand theboutiquesincethePlaintifrsfirstday.It

       wasm oredisturbing becausethePlaintiffhad neverbeen criticized forherwork,work

       ethic,tem peram ent,behavior,orwork perform ance.Everything the Plaintiffhad donewas

       alwayscommended,and wasalso,alwaysapproved by herSuperiors,including W ilburn.

       ThePlaintiffherselfhad an im maculate reputation,so theattemptsbyW ilburn and Jonesto
       defam eand slanderherwerecom pletely baseless.

 j. Thetreatmentfrom JonesonlygotdrasticallyworseafterthePlaintiffwasIeftwitllnoother
       option butto talk toanotherparty,herSuperior.Fisher,aboutJones'egregiousbehavior
       and theshamefulincidentsthatweretranspiring.Jones,although in privatepraised the

       Plaintifffor<dallherconcentrated efforts,'' aswritten inan emailJonessenttoFeldertwo
       daysbeforetheRetailEvent;Joneswould publiclyberateFelder,especially in thepresence
       ofFisher,otherM anagementorCorporatepersonnel,and otherem ployees.Jone.
                                                                             swho had
       neverpreviouslycom plained toFisheraboutanything regardingthePlaintiff,Jones,in a
       meeting requested by thePlaintiffand between Fisher,Jones,and thePlaintiff,would
       expressin tllem eeting thatFelderKiscared her-''Thiswasthefirsttim ethePlaintiffand

       Fisherhad heard such an expression,andJonescould notgivea singularreasonorscenario
       forthereason behind such aseriousexpression.


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  k. Joneswould continuethecharacterassassination onthePlaintiff,eventually callingFelder
     insolentandcom bativetoFksherand others,although nevergiving one incidentthatwould

     warrantsuchdamagingdescriptionWcharacterizationsofFelder.

  1. JonesnevergavethePlaintiffany sortofdisciplinaryaction,norwasthereanything in the
     Plaintiff'semploymentfilethatwould permitsuch accusationsbyJones.Felder,up untiland
     even the pasttheday shewaswrongfully terminated had aperfectem ployeefilewith no

     strikes,negativerem arks,poorreviews,ordisciplinaryactionsorconcernsnoted.ln

     retaliation ofFelderreporting/com plaining to Fisherabouttheobsceneand disturbing

     behaviorofJones Jonesdeliberatelyattem pted toruin Felder'ssqueaky-cleanimageand
     reputation though falseand defamatorystatem ents.

  m. On Septem ber20,2017,thedayoftheSJP Retailevent,thePlaintiffhad stayed andworked
     through thenightofSeptember19tbtothemorning hoursofthe20thto ensureeverything for

     theeventwasperfectand functioning.See Complainh ExhibitA.AsthePlaintiffwas
     finishingup and preparing to leaveto gogetready forthe RetailEvent,sheupon Ieavingthe

     stockroom wasmetbyJoneswhonevergreeted oracknowledged the Plaintiff,and was
     dismantling and moving aIIofthedisplays,furniture,and arrangementsin theBoutique.As

     thePlaintiffattempted toask Joneswhat'swrong.thePlaintiffism etwithcompletesilence
     and arolloftheeyesby Jones.ThePlaintiffrepeatedly triestoask Jone.
                                                                      swhatthePlaintiff
     hasdonewrong,butJonesignoresher,beforeyellingatthePlaintifftoK+ eavel''Jonesthen
     callsM GM N ationalH arborSecurity to whom shereportsthatthePlaintiffisan <dirate

     employee-
             ''Plaintiffistllenimmediatelymetwith notjustM GM NationalHarborSecurity,
     butalso,PrinceGeorge'sPoliceDepartmentOfficersand theirIarge,intimidating dogs.The

     Plaintiffisso distraughtthatherkneescom pletely buckle.ThePlaintiffim m ediatelyrunsto

     thestockroom tocallFisherforurgenthelp.ThePlaintiff,whonevergotwithin 5 feetof

     Jones,neverraised hervoice,nevergotupset,butinstead wasin completeshock,panicand

     fearforherwell-being,could notunderstandwhyshewasbeingsubjected tosuchdisparate,
     irrational,and outrageoustreatment/conductfrom Jones.




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     ThePlaintiff,who had neverin herentirelife been ina fight,w ho had neveracted outof

     character,orwhohad neverbeen introuble,wasbeingdescribed asan ddirateem ployee'',

     subjectinghertotreatmentlikethatofacommoncriminal,andwronglyandunjustifiably
     exposed hertoscorn and uttersham e.Jonesmalicioususeoftheword dtirate''putthe
     Plaintiffin danger,especially in today'ssensitiveand antsy nature.IfthePlaintiffwas

     tdirate''would Security and thePoliceOfficersallowed hertogo aloneto thestockroom to

     callFisher,even allowing herto finish hercall? W ould thePlaintiffhavebeen allowed to

     grab herbelongingsherselr ThePlaintiffwasactuallyso calm in dem eanorand

     tem peramentthattheM GM NationalHarborSecurityGuardsactuallyapologized tothe

     Plaintiffforwhathad transpired,gave hera hug,and evenexpressed rem orseforthecruel

     and unusualtreatmentPlaintiffhad to endure.IfthePlaintiff'sbehaviorwasonethatcould

     rightly becharacterized asdtirate,''would Fisherhaveexpected Plaintifftocom eback and

     managetheRetailEvent?Joneswanted topubliclyscorn and humiliatethePlaintiffand
     publicly ruin herim peccable reputation.

     Jones,withoutthePlaintifrsknowledge,took video ofpartsoftheincidentand showed itto
     fellow employees.Thevideo wasnotofFelderbeing escorted outofthebuilding bySecurity,

     butratherofwhen Felderwasasking JonesGwhat'swrong''andJonesignoring her.A
     fellow em ployeewho saw thevideo,called and text-messaged thePlaintiff,and inform ed her

     thatJoneswassllowing thevideoto employers.Theemployeementioned thatthevideo
    showed thePlaintifftddoing nothing wrong-''diYou weredoing nothingwronp''said the

     em ployeetothePlaintiff.Jonesonceagain,in afurtherattempttodefameand slanderthe
    Plaintiff,tried tohum iliateand disparage thePlaintiffby publidy slxow ingsnippetsofa

     video thatattem pted,butfailed to succeed,to castPlaintiffin a negative Iight.A sthe

    em ployeesaid,thevideoactually showed thePlaintiffdtdoing nothingw ronp ''despitethe

    combativeand iratepicturethatJoneswasattem pting to paintoftbePlaintiff.Jonestried
    desperately todefameand slandertheperfectreputation ofthePlaintiffbyanym eans
    necessary,including lyingand m aliciously reportinga falsedescription to Security.




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                                               IX.

                            PRELIM INARY ALLEGATIONS

             REG ARDING NEG LIG ENT RETENTIO N /SUPERVISION

84. Fisheristhefinalauthority in aIldiscrim inatoryand nondiscriminatory matters,responsible forthe
    hiring,screening,training,retention,supervision,disciplineand counseling ofemployeesunderhis

    DivisionY epartm ent.

85. FisherwaswellawareoftheproblemsplaguingtheRetailDivision beforeFelderwasem ployed by

    M GM NationalHarbor.

86. Fisherregularly described theRetailDivision asdda m ess-''

87.Fisherknew oftheM anagementand em ployee problemswithin theRetailDivision asseveral

    com plaintsbetween variousem ployeeshad been recently launched whileJoneswasabsent.
88. Fisherwasalsowellawareofthe multipledisciplinary infractionsand complaintsthatwerelaunched

    byem ployeesregardingM anagem entand thosein Leadership Roles.

89.Fisherwaswellawareofthehigh turnoverrateand recentem ployeeterm inationsdueto thetoxic

   environm entand low em ployeem orale.

90.Atoraround thesametim ethe Plaintiffwasem ployed,Fisherhad implemented regularmeetings

   w ithM anagem entand thosein Leadership roles,creating asortofopendoorpolicy;which isone

   reason whythePlaintiffinitiallyfeltso com fortableto com etoFisherforhelp with theproblents

   occurring with Jonesand W ilburn.
91. Fisherwaswellawareofthedepth and seriousnessofJoneserrantand egregiousbehaviortowards
   thePlaintiffbecausethePlaintiffinformed Fisher,warninghim thateverything ddshe had built,that

   shehad doneforthegood oftheCompanyand store,wasbeingcompletelyundone byJones,''and
   thatddeverything wasbeingchanged withoutthePlaintiff'sconsent,withoutconsulting her.without

   herknowledge.A IItheauthoritythatFisherhad granted thePlaintiffwasbeingtakenaway-''

92. Fisherknew themagnitude ofhow horrible thesituation waswith Jonesand W ilburn'sbehavior
   towardsthePlaintiff,thatthePlaintiffrequested toFisherifshecould betransferred toanother

   storeordepartm ent.Fisherdenied tbatrequest.



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#J. FisherwasfurthermadeawareoftheiIIconductofJoneswhen duringa meetingrequested by the
    Plaintiffwith Fisher,Jonesand thePlaintiffinattendance,Fisherasked thePlaintiffwhatwereher
    thoughtson whatshewould feelwould help movetheteam in therightdirection.Plaintiffreplied,6*I

   feelfO fitI
             :
             ,
             çimportantf&,fFeactasafecl??,andthatweareunitedinourgoalsandobjectives.0ur
    linesofcommunicationmustbeopen,andIthinkitisimportantfO fh'dallàcrethebestinterestofthe
    businessand each otheratheart.It'simportantthath'erespectand honorrolesand responslbilitiesand

    supportoneanotherinourendeavors.Ifwerespectoneanotherandactivelysfrfpe/4?worktogether,
    then vecan accomplish much Jzl# havegreatsuccess.''From thePlaintilr sresponse,Fishershould

    haveknown thatanysimilarconductbyJonesmovingforward wasdeliberateand thatJoneswas
    willfully acting in a way topurposelyharm thePlaintiff.

94. OncethePlaintiffim mediately reported toFishertheactionsofJone.
                                                                  sand theeventsthattranspired
    on September20,2017,Fishershould have im mediately acted to protectthePlaintiff,and to atleast

    investigateifJoneswasrightin heractions,which shewasnot.
95.Fisherchosenottoact,and instead,allowed thePlaintiffto severely sufferatthehandsofJones'
    despicableand maliciousconduct.including humiliation,slander,defam ation,endangerm entoflife,

    severeem otionaldistress,and Iossofem ploym ent.

                                               X.

                            PR ELIM IN A RY A LLEG A TIO N S

   REG ARDING INTENTIO NAL INFLICTION OF EM OTIONAL DISTRESS

96. Jonesintentionally reported thePlaintiffasan ddirate''em ployeetoM GM NationalHarborSecurity.
97. télrate''isa word thatin asocialorwork settingisnotused unlessa person orem ployeeisacting in

    such a way thathe/sheisuncontrollable,irrational,unreasonable.orin amannerthatputsthewell-
    beingorIifein im m ediateproxim ity in absolutedanger.Thisword isoften used to describesom eone

    in greatrageand/orhasan intentto harm ,and assuch,itisaddtrigger''word thatSecurity and Law
   Enforcem enttake extrem elyseriously.

98.W hen Jonesintentionallyused thisword to falsely and maliciously describeorrepor'
                                                                                   tthePlaintiff's
   alleged behavior/demeanorto M GM NationalHarborSecurity,Jone.swillfully putthePlaintiff'sIife
   in danger.and immediatelyexposed hertoextremeand outrageousconduct,robbing herdignity.

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99. ThePlaintiff,a calm.happy-go-lucky,neverin trouble,goody-two-shoeswho had neverbeenina

    physicalaltercation,neverbeen sentto theprincipal'soffice,who doesn'teven haveaparking ticket

    to hername,an outstandingem ployee,with a solid and perfectreputation,aIIofa sudden,after

    staying hoursto prepareand perfed arrangementsforherlirsteverSJP RetailEventunderwhat
    should Imvebeen hersupervision and managem ent,wasbeingd<thanked''by Jonesby beingcalled an
    dtirateemployee'',resulting in thePlaintiffbeing confronted byM GM NationalHarborSecurity and

    arm ed Prince George'sCounty Policeom cerswith huge,frighteningdogs,and being escorted outof
    thebuilding Iikeacomm on crim inal,llanked by Security and Officers,com pletely denying the

    Plaintifrsdignityasaperson.Felderendured thisoutrageousconductaIIwhilestillbeing agood

    standing employee,stillem ployed byM GM NationalHarbor,who wasnotfired,and who therightto

    beattheBoutique,asitwasherplaceofwork and employment.

100.ThePlaintiffwassoscared,so nervousthatherkneesbuckled in distress.

101.ThePlaintiffwasin such em otionaland m entaldistressthatshefranticallycalled Fisherforhelp and

   supportto rectify thesituation.

102.ThePlaintiffwasso emotionally distressed thatshesatin hercar in theM GM NationalHarbor

   ExecutiveParking Garageforalmost4 hoursIong.

103.The Plaintiffwassoemotionally distressed thatherM other,extrem elyworried abouthersafety,

   would notallow hertodrivehom euntilshecouldem otionallycalm down,which wasseveralhours

   Iater.

104.ThePlaintiffwasso em otiolm llydistressed thatsherem ained in bed forover24 hoursin pure

   darknessassheweptbitterlyatwhathad transpired.

105.ThePlaintiffwasso em otionallydistre-ssed thatseveralem ployeescalled and texted hertoIether

   know how angry,sad,distraught,and disgusted thewereovertheincident.

106.ThePlaintiffsuffered such em otionaldistressin them onthsthatfollowed thatitwassuggested to

   have herdog registered asan em otionalsupportanim al.

107.In them onthsthatfollowed,thePlaintiffhad becomeso distressed by thethouglltsand llashbacksof

   thatawfulday,thatoneday,whilewashing herface,thePlaintiff,while renectingonthetraumatic




                                               25
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    events,becameso tensethatsheunknowingly scrubbed herfacesohard thatsheaccidentallyripped

    som eoftheskinoffherface.Thescarstillvisibledown to thisday.

108.Evenupuntiltoday,thePlaintiffrefuse.
                                       stovisitM GM NationalHarbor,asjustthethoughtorsight
    ofitgiveshersuch anxietythatshegetsheadachasandeven trem ble-s/shakes.

                                               XI.

                   PRELIM IN AR Y A LLEG ATIO NS RE G A RD IN G

  M CE/COLO W SEX DISCRIM INATION AND W RONGFUL TERM INATION

log-plaintiffisathin,tall,fair-skin(Iighttone)AfricanAmericanfemalewithIongblackhair.
llo-plaintiffisamodelemployeewithnotedandrecognized excellentjob/workperformancewith
    absolutely no negativeorbad rem arksagainsther,and withoutany disciplinary actionsagainsther.

lll-plaintiffwasterminatedfrom herjobbyJones.
112.Jone.
        sksa dark-skilm ed African American female.
113.Thetwo otherAssistantRetailM anagersarecom prised ofaCaucasian fem aleand adark-skin

    (darkertone)male.
114.On thedayofthePlaintiffG ingescorted from thebuilding atthecom nund ofJones,John Doesa
    friend to Jones,had tried to assumethePlaintiff'srolesand dutieson theday ofthe SJP Retail
   Event,butwasim m ediately corrected,and told to assum e hisoriginaldutiesasSalesLead.

115.Upon thePlaintifrstermination,thePlaintifl''sPosition remained vacant.
116.Upon thePlaintiff'stermination,although heractualPosition rem ained vacant,when necessary,

   AssistantRetailM anagerDianeLemberg,a Caucasianfem ale,would beasked to assistwith theSJP
   Boutique.

ll7-lonesshould haveknown orknew ofthe discriminatorycustom s,practices,policies,and wrongful
   actsoftheDefendants,and shecondoned,ratified,authorized and/orengaged in such conduct.

ll8-lonesattimesrelevanttothisaction hassetdisciplinary policy,supervised and directed the
   institution and conductofinvestigations(orthelackthereol),and maderecom mendationsasto the
   penaltiesregarding disciplinary m attersw ithin theRetailDivision.

119.Joneshasengaged indisproportionatedisciplineoffair-skin (Iightertone)AfricanAmericanswithin
   theRetailDivision ofM GM N ationalH arbor.

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lzo-Defendantshaveengaged in apatternand practiceofdiscrimination againstfair-skin (Iightertone)
    African Americansby maintainingand allowinga work environmentthatishostileon thebasisof

    race,color.and sex,includingbutnotIim ited toderogatory rem arks,disparatetreatm entin the

    generalwork environm entand theterm sand conditionsofem ploym ent.

121.M GM NationalHarborand itsparentcompanyM GM ResortsInternationalPolicy Against

    Discrim ination,Harassm entand R etaliation states:..M GM ResortsInternadonalf.
                                                                                  çcomm ittedto a

    !aF./I
         'I!andO rvltlrlftlllsworkenvironmentthatfostersrespectforthehumanityanddignityofall
   persons.MGM ResortsthereforeJv//llN/.
                                       çworkplacediscrimination,karassmentorre/allfzllbasedon
    anycltzz
           uWrlfl
                baorcondition thatisprotectedbylaw.FàiçPolicyAgainstDiscrimination,Harassment
    andRetaliation(HPolicy'')shallapply/z?eachofitsA lzleA'
                                                          /fcandforeignsubsidiariesandaffiliated
    companies(referredtocollectivelyinthisPolicyasthe'Xtmpfmy''
                                                              l,andallCompanypersonnel
    (includinghourly,salaried,yleere tlry,managerialandexecudveregardlessoftitleorposition)y&zl!
   adheretotheprincklesofthisPolicyincompliancewithJ#applicablefederalstateandloeallwws,
   rulesandregulations.

    Employees.
             ç#cllnotsubjectotheremployees,eompanyguests,customers,orvendors,ortheiremployees
    orrepresentatives,/
                      ,
                      tlanyform ofdiscriminadonorltarassmentbasedonsex,race,color,national
   origin,ancestry age,religion,veteran,
                                       ç/
                                        zd/II,
                                             çdisability perceiveddisability,sexualorfea/tz/l ll,union

   tz
    Ffll
       kzfftm,geneticfn/bnncNoa,genderWen/z'
                                           /yorexpression,transgendersfc/zlsoranyotherylflpzsor
   classWecflrlprotectedby1h'.Allemployeesarerequiredatallffzzle:toexhibitrespect,professionalism
   andreasonablejudgementintheircommunicadonswithandconducttowardallotherpersonsinour
   workplace.

   Employeeslikewiseshallnotre/all
                                 W/eagainstanotheremployeeorindividualbased on kislhergood

   faithexerciseofthelegalrfgàftocomplainthroughesfcâlfaàeffmethodstzâtlllzdiscriminationor
   ltarassmen6oranemployee'scooperationintkeinvestigationofacomplaintofdiscriminationor
   harassment''SeeComplaint,ExhibitG.

   Defendantsfailto adhereto thisrequirement.

122.TheRetailDivision underJones'supervision had apattern ofdiscriminatory conductagainstfair-

   skin (Iightertone)African American employees.

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lz3-Fair-skin (Iightertone)African Americanemployeesacting in any Supervisory orLeadership
    capacity,including thePlaintiff,havehadtheirauthorityundermined by Jonesand otherdark-skin
    (darkertone)African Am erican em ployees.
        a. Forexam ple,Plaintiff,and otherssim ilarto Plaintiff,attemptingto seek help.intervention,

            ordisciplinefordark-skin (darkertone)African American em ployeeswho com mitted
            wrongfulactsorwho brokeCom pany policieshave been repeatedly discouraged from filing

            anyform aldisciplinary proceedings,havehad theirCom plaintsgone m issingornotfiled,or

            havethemselvesbeensubjecttodisciplinaryactions.ThePlaintiff,andothersimilarfair-
            skin (Iightertone)African American employees,havehad theirmanagement,supervksory,
            orIeadership rolesIim ited and undermined atthesolediscretion ofJonesand otherdark-

            skin (darkertone)em ployee.sin favorofthedark-skin (darkertone)African American
            em ployeeswho reportthem .

lz4-Em ployeediscipline in theRetailDivision isadministered in a grosslydiscrim inatory marmer.Fair-

    skin(Iighttone)AfricanAmericanemployeesaresubjected todisciplinefortrivialinfractionsand
    alleged infractions,whereasdark-skin (darkertone)African American em ployeesand Caucasian
   employeesarepermitted to breach therulesnearimpunity.

lzs-Fair-skin (Iightertone)African American employeesareterminated ata much higherratethan
   darkerskin African Am erican em ployeesand Caucasian em ployees.A com parison ofthediscipline

    im posedupon Plaintiffand similaremployeesto the discipline im posed upon dark-skin (darkertone)
   A frican Am ericansand Caucasian em ployeeswillshow substantialdisparity in treatm ent.

126.Upon information and belief,fair-skin (Iightertone)African Americanswithin theRetailDivision
   havebeen,or,arebeingterminatedorsubjectedtoharsherdisciplineatastatisticallysignificant
   higherratethan dark-skin (darkertone)African Am ericansand Caucasian employees.
127.Atallrelevanttimes,themajorityoftlleemployeestaffintlleRetailDivisionweredarkerskin
   (darkertone)African American employees.ThePlaintiffand only oneotherem ployeein theSJP
   Boutique were fair-skin (Iightertone)African American.
128.Thevastmajorityofthemake-upofMGM NationalHarbor'semployeesinLeadershipc xecutive
   Levelpositions,wereCaucasian.


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129.Thevastmajorityofthemnke-upofM GM NationalHarbor'semployeesoutsideof
    Leadershipc xecutiveLevelpositionswereAfrican Americans.

130.Underinformation and belief,theoriginalSJP Boutiqueteam included aCaucasian Retail/store

    M anager;threefair-skin (Iightertone)African Americanemployees;and twodark-skin (darker
    tone)African Americanemployees.Two outofthreeofthefair-skin em ployeeswerefired fortrivial
    m attersunrelated to work perform anceordisciplinary actions.Thethird fair-skin em ployee,while

    notfired,waspromoted toBrand Ambassadorby W ilburn,onlyto haveJonesand thetwo other

    darkskinemployeesobject;andwithoutreasonorduecause,thefair-skinemployeelostherperk
    and em ploym entopportunity asBrand Am bassadorw ithoutany explanation toher.The othertwo

    dark-skin employeeswere neverdisciplineddespitehaving infractionsand com plaintsforexcessive

    tardine-ss,absences,orstealingClientsfrom thefair-skinemployee.Even when thefair-skin

    em ployeefiled a ComplaintwithJonesabouttheincidentsin store,upon following up,thefair-skin
    em ployee found outthattheH R departm enthad no recollection orrecordofherCom plaint.

l3l-plaintiffwasterm inated and escorted outofthebuilding by security,policeofficersand dogsforno

    known orIogicalreason.Butadark-skin (darkertone)malewhowasterm inated forstealingm oney
    bagsfrom theregister,wasescorted outwith a singleplain-clothesM GM N ationalH arborSecurity

    guard,nopolice,nodogs.

132.Plaintiffwasterminatedfornojustcause.Buttwodark-skin(darkertone)employeesgotintoa
   seriousphysicalaltercation on Companygroundsthatrequired Security and policeto break up.

   Thesedarker-skin (darkertone)employea wereallowed to return towork thefollowing week,with
   noknownseriousdisciplinaryactions.

                                                X I1.

             PR ELIM IN A RY A LLEG A TIO N S REG A R DIN G TITLE VII

133.1tis inform ed and believed.thatM GM Harborisrequired to hire a certain numberofem ployeesfrom

   PrinceGeorge'sCounty,M aryland.
134.1tis inform ed and believed,Prince George'sCounty'spopulation is predominately African

   American/Black.

135.1tisinform ed and believed.M GM H arbor'sem ployeesarepredom inately AfricanAm erican/Black.


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136.1tisinform ed andbelieved,m ostofM GM Harbor'sexecutive andhigher-levelm anagerialpositionsare
    non-Black orM ite.

137.1tisinformedandbelieved,intheRetailDepartment,thevastmajorityofthestaffisBlack,having
    predominately the same skin color/tone,which is medium to darkershadesofbrown.

l38.1tisinform ed andbelieved,theretaildepartmentlacked diversity.

139.1tisinform ed andbelieved,theSJP brandiscreated,designed.andm arketed by aW hite/caucasian

    W om an.

140.ltisinformedandbelieved,themajorityofSJP'SclientsareWhite/caucasianwomen.
141.Itisinformedandbelieved.thatwhileMGM HarborhiredanallormajorityBlack/AfricanAmerican
    salesm enandsaleswom en staff,thetirstm anagerwho wasthesamem anagerpriorto Plaintiff's

    em ploym ent,wasam atureW hite/caucasianwom an.

142.Itis inform ed and believed,Jones is an African Am erican fem ale with darkerskin tone.

143.1tisinformedandbelieved,thatbeforeMGM Harboropened,MGM Corporatehiredmajorityofthestaff.
    During thistim e there were Blaclt/African Am erican em ployeeswith lighterskin tones hired.

144.Itisinform ed andbelieved,thattheem ployeesJoneshired wereBlack/A fricanAm ericanwith darkerskin

    tones,male and fem ale.

145.1tisinformedandbelieved,SJP Corporatew aslooking foranew m anagertosolelym anageSJP Boutique.

146.Itisinform ed andbelieved,theprospectivecandidateand front-runnerw asaW hite/caucasian fem ale.Itis

    inform ed andbelieved.thattheonlyreason thiscandidatewasnothired,wasthatshefraudulently

   pretendedtobethe Assistantto Sarah JessicaParker.

147.Itisinformedandbelieved.thereafter.Plaintiffwassought-outand discovered byW ilburn ofSJP

   CorporatetobetheStoreM anageroftheSJP Boutiqueparticularlydueto thePlaintiff.although African

   A merican,having very fairskin,and isyoung.tall,and thin.with long hair.

l48.plaintiffw as on num erousoccasionstold by employeesand m anagers,including Jane and John Doe that

   she isa ''younger,taller,thinner.light-skinned.pretty version ofJones.
                                                                        ''

149.P1aintiffwasalsotold severaltimesby employees,including an AssistantM anagerofRetailthatd:lshel
   lookslike(shelbelongsinSJP,and thatthestore needsmorepeoplelike gplaintiftl thattitstheSJP brand.'f
lso.plaintiffwasoftenlooked up anddown,from head-to-toebyJones.


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151.-
    loneswouldrefertoPlaintiffasçfouezen.''
1sz.plaintiffseveraltim es personally asked Jones,<<W here isthe diversity here?''

1s3.plaintiffconstantly m entioned to Jonesand both AssistantM anagers ofRetailthatshe w ould like,and feels

    itisimportant.to hirepeopleofvariousbackgroundsandethnicities.

ls4.plaintiffwasnotallowedbyJonesto havethefreedom ofdutiesand responsibilitiesthattheotherAssistant

    RetailM anagerswereprivy to.Itisim portanttonotethatoneofthe AssistantRetailM anagerswasa

    W hite/caucasian fem ale,whiletheotherwasadarkskinA fricanA mericanm ale.

155.Although Plaintiffwasextremelyexperienced,knowledgeablepand fully capable,w ith aproven track

    record,and notonebad ornegativem ark ordisciplinary action,Joneswould takeaw ay Plaintiff's

    responsibilities,duties,rights,andfreedom sentitledtoherasaM anagerand givethosedutiesto those

    whosepositionswereextremelyless-qualit
                                         sed and experienced andhadnegativereviewsandcomplaints,

    as wellasdisciplinary actions againstthem .

l56.Joneswould alsotakepfavor,and implementthethoughts,suggestionsand/orpreferencesofothersnot

    privy to such finaldecisionsoverthe thoughts.suggestionsand/orpreferencesofPlaintiff,who isthe Store

    M anager.

                                                  X IIl.

                                               C LA IM S

                                               CO U N T I

                       TORTIOU S M ISREPRESENTA TION /FRA UD

ls7.plaintiffincorporatesbyreferenceandrepeatsand repleadsparagraphs1through l57hereinasiffully set

    forth.

ls8.DefendantsviolatedM d.CommercialLaw CodeAnn.j1-3()4.
lsg.DefendantsviolatedM d.CommercialLaw Code Ann.j8-501(1).
160.lndoing the actsalleged herein,Defendantssuppressedandconcealed certain m aterialfactswhichthey had

    aduty to disclose to the Plaintiff.

161.Inparticular.Defendantsknew and concealed from Plaintiffthe materialfactthatthePlaintiffhad to

   com plete a90-DayProbationaryPeriod.



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l6z.Defendantshad a duty to disclose and explain thism aterialfactas aresultoftheirtsduciary relationship to

    Plaintiff.ln addition,Defendantshad an independentdutytodisclosethism aterialfactsincethey

    undertook tom ake otheraftirm ativerepresentationsaboutthesem attersandwerethusbound tom ake full

    and fairdisclosure ofallm aterialfacts.

163.Defendantssuppressed orconcealed m aterialfactswith intenttoinducerelianceand to defraud Plaintiff.

164.Atallrelevanttim es,Plaintiffwasunawareofthem aterialfactsthatweresuppressedandconcealed by

    Defendants.lfPlaintiffhad been aware,she would have taken stepsto protectherself.including.butnot

    limitedtorefusingthejobofferandcontinuingandacceptingthepromotionfrom SMU.
165.AsaproximateresultofDefendantsintentionaland fraudulentsuppression andconcealm entofthe

    aforem entionedm aterialfacts.Plaintiffhassuffered,andcontinuestosufferdam ages,in an am ount

    currentlyunascertained.butaccording toproofoftrial.

166.713e aforem entioned conductofDefendantsconstitutesfraud,suppressionand/orconcealmentofm aterial

    factsknown tothem .with tbeintenton thepartoftheDefendantsofindueingrelianceand thereby

    deprivingPlaintiffoffinancialandjobsecurity.andwasdespicableconductthatsubjectedPlaintifftocruel
    andunjusthardshipinconsciousdisregardofthePlaintiffsrights,andassuchjustifiesanawardof
    exem plary and punitive dam ages.

                                              C O U NT 11

                                   BREA CH O F CO NTRA CT

167.plaintiffincorporatesbyreferenceand repeatsand repleadsparagraphslthrough 167hereinasiffully set

    forth.

168.771e Plaintiff'scontractualposition was AssistantM anagerofRetail.and isa binding,legalinstrum entthat

    createsmandatoryobligations,attachedheretoasExhibitE andincorporatedherein.on thepartofM GM
    andthePlaintiff.

l6g.DefendantsviolatedM d.CommercialLaw CodeAnn.j2-206.
l7o.DefendantsviolatedM d.CommercialLaw CodeAnn.j22-701.
171.Defendantsviolated M d.CommercialLaw CodeAnn.jl-304.
l7z.Defendantsbreached theircontractualobligationsto Plaintiffby failing to allow herto complete and

    successfullyexecutedutiesand obligationsshewasprivy and well-qualified todo.andthecriticalterm sfor
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    whichthePlaintiffacceptedthejoboffer.includingthatwhichtoeiManage,communicate,andexecute
    retaileventss''asrequiredby thePosition'sResponsibilities/Duties.

173.DefendantswillfullyandwithoutjustcausemitigatedandreducedPlaintiff'sdutiestothoseofaSales
    OperationsLead Associate.

l'
 M .plaintiffhasperform ed al1obligationsand satisfieda1lresponsibilitiesarisingonherbehalf,pursuantto the
    written Agreem ent,acceptthosewaivedorexcused asaresultofDefendant'sbreach ofContractand

    misconduct.

175.AsaproximateresultofDefendant'sbreach oftheAgreement,Plaintiffseekscompensatory andpunitive

    dam ages,in an am ountto beproved attrial.

                                             CO UN T III

                                              SLA N DER

l76.plaintiffincorporatesby referenceandrepeatsand repleadsparagraphs1through 176 hereinasiffullyset

    forth.

l77.1n Septemberof2017.Jones made the follow ing defam atory statem ents to m anagem ent.em ployees,and

    executivesofM GM :

             Jones falsely stated to M r.Lenard Knightpan AssistantM anagerofRetail.thatPlaintiffwas

             '.going atit''with W ilburn.

             Jonesstated to FisherthatPlaintifft<scared her''.

             Jonestold severalemployees ofM G M Harborand FisherthatPlaintiffw as:.
                                                                                  com bative and

             insolent''

             W ilburn falsely statedtoJonesand tw ootherM GM HarboremployeesthatPlaintiffisa

             <.dictator''

             JonesreportsPlaintiffto security andM GM Harboremployeesasan <birateem ployee''.

             Jonesvideo recordsPlaintiffduring hermosthum iliating interaction w ith Jonesand show sthe

             video to num erous SJP Boutique and M GM Harborem ployees.

178.71-
      1estatementsmadebyDefendants.andeachofthem.hadthetendencytoinjurePlaintiffinher
    occupation because the statem ents attack Plaintiffs veracity asa kind.understanding,m ild-tempered.

    peaceful-professional.highly-esteem ed M anagerand employee ofM GM Harbor.
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l79.Upon inform ation and belief,em ployeesofM GM Harborunderstood thatthe statem ents were about

    Plaintiffasthe statem entswerem adeof.concerning.and mentioned Plaintiffexpressly.
180.Allstatem ents are entirely false as they pertain to Plaintiff,and aredefam atory,slanderous.slanderouson

    theirface.and exposed Plaintifftodanger,ridicule,and obloquy,and cannegatively affectothersoutlook

    and perception ofthePlaintiffbecausePlaintiffwasnever-atany time,adisputatious,violent,or

    com bativeperson,em ployee,orM anager.These statementswereunderstood by thosewhoheard them ina

    way thatdefamed the good and positive reputation ofPlaintiffasan honorable.well-liked.peaceable,

    peace-m aking,well-respectedprofessional,and thatthestatem entsconnotePlaintifftoexhibitaviolent

    dispositiontowardsthoseinauthority and otherM GM H arboremployees.

18l.n esestatem entswere m adetovariousemployees,partners.executives.and managementto andofM GM

    Harborin Prince George'sCounty,M aryland.

182.Upon inform ation and belief,Defendants.and each ofthem,failed to use reasonable care to determine the

    truth orfalsity ofthestatem ents.Uponinform ation and belief,thewrongfulconductofD efendantspeach of

    them -wasasubstantialfactorincausingPlaintiffharm ,includingbutnotlimited to,harm toPlaintiffs

    profession.and/oroccupation-endangerm enttoherIifeand well-being.harm toPlaintiffsreputation,in

    addition to thatassum ed by law.

183.Asaproxim ateresultoftheabove-described Statements,Plaintiffhassuffered losstoherreputation,

    shame.em barrassm ent.mortification.severeem otionaldistress,and hurtfeelings,a11tohergeneral

    dam ages.

184.U pon inform ation and belief.by engaging in the above conduct.Defendants,and each ofthem ,acted with

    wrongfulintentionofinjurytothePlaintiff,malice,oppression,and/orfraud,from animproperandevil
    motiveam ounting todespicableconduct.and inconsciousdisregard ofPlaintift-'srights.entitling Plaintiff

    to exemplary and punitive dam ages.

                                             CO UN T IV

                                           DEFA M ATIO N

18s.plaintiffincorporatesby referenceand repeatsandrepleadsparagraphs1through 185hereinasiffully set




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186.1:1Septemberof2017.Jonesm adethefollowing defam atory statem entsto management,em ployees,and
    executivesofM GM :

             Jonesfalselystated toM r.Lenard Knight.anA ssistantM anagerofRetail,thatPlaintiffw as

             dKgoingatit''with W ilburn.

             Jonesstated toFisherthatPlaintiff:4scared her''.

             Jonestold ses/eralem ployeesofM GM Harborand FisherthatPlaintiffwasçGcom bative and

             insolent''

             W ilburnfalselystated toJonesand two otherM G M Harborem ployeesthatPlaintiffisa

             d-dictator''

             JonesreportsPlaintiffto securityand M GM Harboremployeesasand4irateemployee''.

             JonesvideorecordsPlaintiffduringhermosthumiliatinginteraction withJonesandshow sthe

             video to num erous SJP Boutique and M G M Harborem ployees.

187.711estatementsmadebyDefendants,andeachofthem.hadthetendencytoinjurePlaintiffinher
    occupationbecausethestatementsattackPlaintiff'sveracity asakind,understanding.m ild-tempered,

    peaceful,professional.highly-esteemed M anagerand em ployee ofM G M H arbor.

188.Upon inform ationandbelief.em ployeesofM GM Harborunderstood thatthestatem entsw ere aboutthe

    Plaintiffasthe statem entswerem adeof.concerning.andm entioned Plaintiffexpressly.

189.A11statem ents are entirely false as they pertain to Plaintiff,and aredefam atory.slanderous,slanderouson

    theirface.and exposedPlaintifftodanger,ridicule,and obloquy.and can negativelyaffectothersoutlook

    and perception ofthePlaintiffbecause Plaintiffwasnever.atany tim e,adisputatious,violent,or

    com bativeperson.employee.orM anager.Thesestatementswereunderstood bythosewho heard them ina

    way thatdefamed the good and positivereputation ofPlaintiffas an honorable.well-liked,peaceable,

    peace-making,well-respected professional,and thatthe statem entsconnote Plaintiffto exhibitaviolent

    disposition towardsthose in authority and otherM GM H arboremployees.

190.n ese statem ents were m adeto variousemployees.partners,executives,and m anagem entto and ofM GM

    Harbor in PrinceG eorge'sCounty,M aryland.

191.Upon information and belief,D efendants.and each ofthem ,failed to use reasonable care to determ ine the

    truth orfalsity ofthe statements.Upon inform ation and belief.the wrongfulconductofDefendants,each of


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    them.wasasubstantialfactorincausing Plaintiffharm .including butnotlim itedto,harm to Plaintiff's

    profession,and/oroccupation.endangerm enttoherlifeand well-being,harm toPlaintiffsreputation,in

    addition to thatassum ed by law.

192.Asaproximateresultoftheabove-describedstatements,Plaintiffhassuffered losstoherreputation,

    sham e.em barrassm ent.m ortitication,severe em otionaldistress,and hurtfeelings.a11to hergeneral

    dam ages.

l93.Upon inform ationandbelief,by engaging intheaboveconduct.Defendants,andeach ofthem ,acted with

    wrongfulintentionofinjurytothePlaintiff,malice-oppression,and/orfraud,from animproperandevil
    motiveam ountingtodespicableconduct,and inconsciousdisregard ofPlaintiff'srightseentitlingPlaintiff

    to exemplary andpunitivedam ages.

194.Uponinform ationandbelief.inengaging in the aboveconduct.DefendantsandDO ES 1through 50

    inclusive,andeach ofthem ,acted with m alice,oppression.and/orfraud entitling Plaintifftoexem plaryand

    punitivedam ages.

                                              C O U NT V

                         NEGLIG ENT RETENTIO N/SU PERV ISIO N

lgs.plaintiffincorporatesby referenceandrepeatsandrepleadsparagraphs1through l95herein asiffully set

    forth.

l96.A talltimes.Jonesw asunderthedirection,supervision,andcontrolofFisher.
197.Upon inform ation andbelief,FisherwaswellawarethatJoneshadtreated Plaintiffunfairly,harshly,with

    m alice.and cruelintentasw asevidentin the priortwo m eetingsFisherhad with Jonesregarding her

    behavior,treatment,and conducttowardsPlaintiff.

198.Fisherfailed.neglected and/orrefused tosupervise ortoproperlydisciplineJonesknow ing thather

    wrongfulactionshad beenrelentlessandunwarranted towardsthePlaintift
                                                                      -.

199.Uponbeing notit
                  ied by the PlaintiffthatJoneshadfalsely labeled and reported herasiratetosecurityand

    the Plaintiffwasconfronted with dogsand arm ed policem enand security.Fisherfailed to actand takeany

    appropriate actions ordiscipline againstJonesorto investigate the incidenttkrther.

200.The actsofJoneswereforeseeable.



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20l.pursuantto Com m on Law and M aryland CivilCode,Defendants,and each ofthem ,w ere and rem ain

    responsibleforthedamageandinjuryasaresultoftheirlackofordinarycareinthemanagementoftheir
    persons.By engaging in the actsherein alleged,Defendantsnegligently breached said dutiesowed to

    Plaintiff.

202.771eunlaw fuland viciousconductalleged above wasengaged inbysupervisorsand/ormanaging agentsof

    Defendantswhowereacting atalltimesrelevanttothisComplaintwithin thescopeandcourse oftheir

    em ploym ent.Defendantsare,therefore,strictly liable fortheconductofsaid agentsand em ployees.

zo3.Defendants'negligencehasandcontinuestobeasubstantialfactorincausinginjuryanddamagestothe
    Plaintiff.

204.Asadirectandproxim ateresultoftheactsand conductofJones,Plaintiffsuffered and continuesto suffer

    severeem otionaland mentaldistress,anguish,hum iliation,embarrassm ent.fright,shock.pain.discom fort,

    and anxiety,andisthereforeentitled to receivespecialdam ages,and/orgeneraldam agesinamountsto be

    determined attrial.

                                            CO UN T V I

                 IN TENTIO NA L IN FLIC TIO N OF EM OTIO NA L D ISTRESS

205.Plaintiffincorporatesbyreferenceand repeatsand repleadsparagraphs1through205hereinasiffully set

    forth.

zo6.D efendants'conductasallegedin thepreliminary allegationswasoutrageousand extreme in thatitwent

    beyond a11boundsofdecency and wasatrociousandutterly intolerableinacivilized society.
zo7.D efendantsengaged in thisconductwith the specit
                                                   ic intentto cause Plaintiffsevere and extrem e em otional

    distressand/orwithrecklessdisregard oftheprobability ofdoing so.Defendantsknew orshouldhave

    knownthattheirconductwillcauseextremevexation,injury.distress,anddamagetotheemotionaland
    psychologicalhealth.safety.and well-being ofPlaintiff.
208.714econductoftheDefendantsasalleged in thisCom plaintwassufticientlypervasive to altertheterm sand

    conditions ofemploym entand the work environm entsuch thatitcreated ahostile environm ent,hostile to

    the Plaintiffand otheremployees.

209.A:adirectand proxim ateresultofDefendants'conduct,Plaintiffhassuffered lossoffinancialstability.

    peaceofm ind andfuturesecurity.

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210.Asadirect,proxim ate,and legalresultoftheextrem eand outrageousconductoftheDefendants,Plaintiff

    sustainedm entalpainand suffering inasum tobedeterm ined attrial.

2l1.Theaforem entioned conductwasm alicious.despicable,andcarried outwithwillfulandconscious

    disregardto therightsand safety ofPlaintiff,therebyentitling Plaintifftopunitivedam agestopunish and

    makean exampleofDefendants.

                                           CO UN T V Il

                                  RA CE D ISCR IM IN ATIO N

2lz.plaintiffincorporatesbyreferenceandrepeatsandrepleadsparagraphs lthrough 212herein asiffully set

    forth.

213.Atalltimeshereinmentioned.TitleVlloftheCivilRightsActof1964 GovernmentCode42 U.S.C.j
    2000-e2(a).wasin effectand binding onDefendants.'
                                                    Fhese statutesrequireDefendantstorefrain from
    Discriminating againstanyemployeebased onrace.

214.Atal1timesherein mentioned,StateGovernmentArticle.j20-602.Annotated Code ofM arylandswasin
    effectandbinding on Defendants.ThisstatuteprotectsM aryland em ployeesfrom discrim inationbased on



zls.plaintiffhasbeen thevictim ofunlawfuldiscriminatoryconductin the workplace.Plaintiffwasunlawfully

    subjectedtodisparatetreatmentandsufferedadverseemploymentactionsbyDefendantsbasedonherrace.
    n eseemploym entactionswereunlawful.

zl6.plaintiffhasbeenm ade to suffermentalanguish and em otionaldistress,lossofemploym entand future

    em ploymentopportunities,and lossofwagesand benetits.asthedireetand proxim ateresultofPlaintiffs

    violationofhercivilrightsasalleged herein.Plaintiffisreasonablycertaintocontinueto sufferthese

    dam agesinthefuture.Plaintiffisentitled totherightsandrem ediesatlaw providedbyTitleVlland42

    U.S.C.j 1981,including actualdamages.compensatorydamages.punitivedamages.
                                          C O U N T VlIl

                                 C OLOR D ISC RIM IN A TIO N
zl7.plaintiffincorporatesbyreferenceand repeatsand repleadsparagraphs1through 217hereinasiffully set

    forth.


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218.Atalltimesherein mentioned,TitleVlIoftheCivilRightsActof1964 GovernmentCode42 U.S.C.j
    2000-e2(a)-wasineffectandbinding onDefendants.ThesestatutesrequireDefendantstorefrain from
    Discriminating againstanyemployeeon thebasisofcolor.

219.Atalltimesherein mentioned,StateGovernmentArticle,j20-602.Annotated Code ofM aryland,wasin
    effectandbinding on Defendants.ThisstatuteprotectsM aryland em ployeesfrom discrimination onthe
    basisofcolor.

220.Plaintiffhasbeenthevictim ofunlaw fuldiscrim inatory conductin thew orkplace.Plaintiffwasunlaw fully

    subjectedtodisparatetreatmentandsufferedadverseemploymentactionsbyDefendantsonthebasisofher
    color.These em ploym entactionswere unlawful.

221.plaintiffhasbeen madeto suffermentalanguish andem otionaldistress.lossofemploymentand future

    em ploym entopportunities,andlossofwagesand benetits.asthedirectandproxim ateresultofPlaintiffs

    violationofhercivilrightsasalleged herein.Plaintiffisreasonablycertaintocontinueto sufferthese

    dam agesin the future.Plaintiffis entitled to the rights and rem ediesatlaw provided by Title VlIand 42

    U.S.C.j 1981,includingactualdamages,compensatorydamages.punitivedamages.

                                             C O UN T IX

                                     SEX DISCRIM INA TIO N

222.Plaintiffincorporatesbyreferenceand repeatsand repleadsparagraphs1through222 hereinasiffully set
    forth.

223.Atalltimeshereinmentioned.TitleVI1oftheCivilRightsActof1964 GovernmentCode42 U.S.C.j
    2000-e2(a).wasin effectand bindingonDefendants.ThesestatutesrequireDefendantstorefrain from
    D iscrim inating againstany em ployeebased onsex.

224.Atal1timeshereinmentioned,StateGovernmentArticle.j20-602,AnnotatedCodeofM aryland,wasin
    effectandbinding on Defendants.ThisstatuteprotectsM aryland em ployeesfrom discrim ination based on

    SeX.

225.Plaintiffhasbeen thevictim ofunlawfuldiscrim inatoryconductin theworkplace.Plaintiffwasunlawfully

    subjectedtodisparatetreatmentandsufferedadverseemploymentactionsbyDefendantsbasedonhersex.
    Theseemploym entactionswereunlawful.



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    226.P1aintiffhasbeenm adeto suffermentalanguish and em otionaldistress,lossofemploymentand future

        em ploymentopportunities.and lossofwagesandbenefits.asthedirectand proxim ateresultofPlaintiff's

        violation ofhercivilrightsasallegedherein.Plaintiffisreasonably certain tocontinuetosufferthese

        dam agesinthefuture.Plaintiffisentitled totherightsandrem ediesatlaw provided byTitleVlland 42

        U.S.C.j 1981,including actualdamages,compensatory damages,punitivedamages.

                                               C O UN T X

                                    W RON G FU L TERM INA TIO N

    227.Plaintiffincorporatesby referenceandrepeatsandrepleadsparagraphs 1through 227herein asiffully set



    228.A4alltimesherein m entioned,TitleVlloftheCivilRightsActof1964 GovernmentCode42U .S.C.j

        2000-e2(a),wasineffectandbinding onDefendants.Thesestatutesrequire Defendantstorefrainfrom
        discriminating againstany employeeon thebasisofcolor,sex-and/orrace.

    229.P1aintiffwasterm inated becauseofhercolor,sex,andrace.Plaintiffwasterm inated becauseofpersonal

        insecuritiesand biasesofDefendants.Defendantsweredem onstrably biasedagainstPlaintiffscolor. sex

        andraceby usingderogatorylanguageand titlestodescribeand referencePlaintifftoothersand refusingto

        allow Plaintiffto thesam eworking rightsand dutiesofothers.

    230.Plaintiffhasbeen thevictim ofunlawfuldiscrim inatoryconductin theworkplace.Plaintiffwasunlawfully

        subjectedtodisparatetreatmentandsufferedadverseemploymentactionsbyDefendantsonthebasisofher
        color,sex.and race.Theseemploymentactionswereunlawful.

    z3l.plaintiffhasbeen madeto sufferm entalanguishandem otionaldistress.lossofem ploymentand future

        em ploym entopportunities,andlossofw agesandbenefits,asthedirectandproxim ateresultofPlaintiffs

        violationofhercivilrightsasallegedherein.Plaintiffisreasonablycertaintocontinue to sufferthese

        damagesinthefuture.Plaintiffisentitled totherightsandremediesat1aw provided byTitleVIIand 42

       U.
        S.C.j 1981,includingactualdamages,compensatorydamages,punitivedamages.


                                                   XlV.

                                    JURY TRIAL DEM ANDED

Plaintiffdemandsajurytrialonal1issuesandclaimstriablebyjury.
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                                                XV .

                                       PRAYER FOR RELIEF

W HEREFOQE,Plaintiffrespectfully praysforreliefagainstM GM NationalHarbor.LLC asfollows:

   (1) Generalandcompensatorydamages,includingprejudgmentinterest,accordingtoproof;
   (2) Nominaldamages:
   (3) Specialdamagesaccording toproof.including-withoutlimitation.losssalary.both frontandbackpay.and
       anyotherbenefitsto which Plaintiffwould havebeenentitled tobyreasonofheremploym entwith

       Defendants,accordingto proof;

   (4) Equitable reliefin the form ofbackpay'
                                            p
   (5) Punitiveandexemplarydamages;and
   (6) SuchotherandfurtherreliefastheCourtmaydeem justandproper.




DATED :Septem ber13,2019                                  BRIU N EY FELD ER




                                                            By:    ,$
                                                                    .
                                                                    ,
                                                                    u     ,
                                                                                 BRITTNEY FELDER,
                                                                                              Plaintiff,
                                                                                                 Pro se




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